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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al,                    §
          Plaintiffs,                            §
                                                 §
v.                                               §          No. 4:16-cv-01414
                                                 §   (Consolidated Class Action)
HARRIS COUNTY, TEXAS, et al.,                    §   The Honorable Lee H. Rosenthal
           Defendants.                           §   U.S. District Judge

                             NOTICE OF INTENT TO APPEAR

       Pursuant to this Court’s directive, please be on notice that Equal Justice Now intends to

appear and speak at the hearing on October 28, 2019 by and through the undersigned counsel or

by Tony Smith a representative from Equal Justice Now.

                                              Respectfully Submitted,

                                               /s/ Alan N. Magenheim
                                               Alan N. Magenheim
                                               MAGENHEIM & ASSOCIATES
                                               State Bar No. 12816200
                                               3701 Kirby Drive, Suite 913
                                               Houston, Texas 77098

                                               ATTORNEY FOR EQUAL JUSTICE NOW

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of October 2019, I electronically filed the foregoing
with the Clerk of the Court for the United States District Court for the Southern District of Texas
using the electronic case filing system of the Court. The electronic case filing system sent a
“Notice of Electronic Filing” to the attorneys of record who have consented in writing to accept
this Notice as service of this document by electronic means.

                                             /s/ Alan N. Magenheim
                                             _______________________
                                             Alan N. Magenheim
